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                         IN THE UNITED STATES DISTRICT COURT
                                          for the
                                 Eastern District of Virginia
                                  Newport News Division

UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )              Case No. 4:24-mj-3
                                                        )
FENGYUN SHI                                             )
                                                        )
                Defendant.                              )

      ORDER ON DEFENDANT’S MOTION TO AMEND CONDITIONS OF RELEASE

         This matter came before this court on Defendant FENGYUN SHI’s Motion to Amend

Conditions of Release.

         It appearing that this court has jurisdiction to hear and determine this matter, that each

party entitle to notice has been notified;

         After determining that the facts presented by both parties, and upon consideration of the

papers and proceedings, it is therefore,

         Ordered that

         Defendant’s motion is hereby GRANTED. Defendant is allowed to move to the address

of 800 John Carlyle St, Alexandria, VA 22314.

         IT IS SO ORDERED.

         SIGNED this __________day of __________, 2024.



                                                              ______________________________
                                                               United States Magistrate Judge




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                                              Respectfully submitted,


                                              /s/ Shaoming Cheng
                                              By: Shaoming Cheng
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                                              Alexandria, VA 22310
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                                              Counsel for Defendant




Dated: February 6, 2024




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                                CERTIFICATE OF SERVICE

       THIS IS TO CERTIFY that on 2/6/2024, a copy of the foregoing document was served via
email and mail to U.S. Attorney at

Peter Osyf, Esq.
U.S. Attorney’s Office
Eastern District of Virginia
One City Center
11815 Fountain Way, Suite 200
Newport News, VA 23606
Email: peter.osyf@usdoj.gov

                                                        /s/ Shaoming Cheng
                                                        By: Shaoming Cheng




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